                                                                                                  CaseCase
                                                                                                       2:14-cr-00321-GMN-NJK  Document
                                                                                                           2:14-mj-00498-PAL Document 2025Filed
                                                                                                                                              Filed 09/23/14
                                                                                                                                                 09/17/14  PagePage
                                                                                                                                                                1 of 41 of 4


                                                                                           1    THOMAS A. ERICSSON, ESQ.
                                                                                                Nevada Bar No. 4982
                                                                                           2    ORONOZ & ERICSSON LLC
                                                                                                700 South Third Street
                                                                                           3    Las Vegas, Nevada 89101
                                                                                                Telephone: (702) 878-2889
                                                                                           4    Facsimile: (702) 522-1542
                                                                                                tom@oronozlawyers.com
                                                                                           5    Attorneys for Keith Williams
                                                                                           6                               UNITED STATES DISTRICT COURT

                                                                                           7                                    DISTRICT OF NEVADA

                                                                                           8                                               ***
                                                                                           9
                                                                                                UNITED STATES OF AMERICA,                    CASE NO.:      2:14-mj-498-03-PAL
                                                                                           10
                                                                                                              Plaintiff,
                                                                Facsimile (702) 522-1542




                                                                                           11
                                                                                                vs.
                    700 South Third Street • Las Vegas, Nevada 89101




                                                                                           12
                                                                                                KEITH WILLIAMS,
ORONOZ & ERICSSON




                                                                                           13
                                                                                                              Defendant.
                                                                                           14
                                           LLC




                                                                                                        DEFENDANT’S UNOPPOSED MOTION TO CONDUCT A PRE-PLEA
                                                                Telephone (702) 878-2889




                                                                                           15
                                                                                                       PRESENTENCE INVESTIGATION REPORT AND PROPOSED ORDER
                                                                                           16          COMES NOW Defendant, KEITH WILLIAMS, by and through his counsel of record,
                                                                                           17   THOMAS A. ERICSSON, ESQ., and hereby submits this Defendant’s Unopposed Motion to
                                                                                           18   Conduct a Pre-Plea Presentence Investigation Report and Proposed Order.
                                                                                           19          Dated this 17th day of September, 2014.
                                                                                           20                                                     /s/ Thomas A. Ericsson       .
                                                                                                                                                  THOMAS A. ERICSSON, ESQ.
                                                                                           21                                                     700 South Third Street
                                                                                                                                                  Las Vegas, Nevada 89101
                                                                                           22                                                     Attorneys for Keith Williams
                                                                                           23
                                                                                           24
                                                                                    1
                                                                                    2




                                                                                           25
                                                                                           26
                                                                                           27
                                                                                           28
                                                                                                CaseCase
                                                                                                     2:14-cr-00321-GMN-NJK  Document
                                                                                                         2:14-mj-00498-PAL Document 2025Filed
                                                                                                                                            Filed 09/23/14
                                                                                                                                               09/17/14  PagePage
                                                                                                                                                              2 of 42 of 4


                                                                                           1                                    STATEMENT OF FACTS

                                                                                           2            On July 29, 2014, the Government charged Mr. Keith Williams with one count of

                                                                                           3    Conspiracy to Interfere with Commerce by Robbery, one count of Brandishing a Firearm in

                                                                                           4    Furtherance of a Crime of Violence, and one count of Interference with Commerce by

                                                                                           5    Robbery. The preliminary hearing is currently set for October 6, 2014.

                                                                                           6         The defense has received the discovery on this matter. Given the fact that Mr. Williams

                                                                                           7    might face sentencing enhancements, the parties have agreed to request a pre-plea PSI for Mr.

                                                                                           8    Williams. Additionally, the parties request that the Court order its preparation.

                                                                                           9

                                                                                           10   Dated this 17th day of September, 2014.
                                                                                                                                                    /s/ Thomas A. Ericsson       .
                                                                Facsimile (702) 522-1542




                                                                                           11
                                                                                                                                                    THOMAS A. ERICSSON, ESQ.
                    700 South Third Street • Las Vegas, Nevada 89101




                                                                                           12                                                       700 South Third Street
                                                                                                                                                    Las Vegas, Nevada 89101
ORONOZ & ERICSSON




                                                                                           13                                                       Attorneys for Keith Williams

                                                                                           14
                                           LLC

                                                                Telephone (702) 878-2889




                                                                                           15
                                                                                           16
                                                                                           17
                                                                                           18
                                                                                           19

                                                                                           20
                                                                                           21
                                                                                           22
                                                                                           23
                                                                                           24
                                                                                    1
                                                                                    2




                                                                                           25
                                                                                           26
                                                                                           27
                                                                                           28
                                                                                                  CaseCase
                                                                                                       2:14-cr-00321-GMN-NJK  Document
                                                                                                           2:14-mj-00498-PAL Document 2025Filed
                                                                                                                                              Filed 09/23/14
                                                                                                                                                 09/17/14  PagePage
                                                                                                                                                                3 of 43 of 4

                                                                                                THOMAS A. ERICSSON, ESQ.
                                                                                           1    Nevada Bar No. 4982
                                                                                                ORONOZ & ERICSSON LLC
                                                                                           2    700 South Third Street
                                                                                                Las Vegas, Nevada 89101
                                                                                           3    Telephone: (702) 878-2889
                                                                                                Facsimile: (702) 522-1542
                                                                                           4    tom@oronozlawyers.com
                                                                                                Attorneys for Keith Williams
                                                                                           5
                                                                                                                            UNITED STATES DISTRICT COURT
                                                                                           6
                                                                                                                                 DISTRICT OF NEVADA
                                                                                           7
                                                                                                                                            ***
                                                                                           8
                                                                                           9    UNITED STATES OF AMERICA,                      CASE NO.:     2:14-mj-498-03-PAL

                                                                                           10                 Plaintiff,
                                                                                                vs.
                                                                Facsimile (702) 522-1542




                                                                                           11
                    700 South Third Street • Las Vegas, Nevada 89101




                                                                                           12   KEITH WILLIAMS,
ORONOZ & ERICSSON




                                                                                           13                  Defendant.

                                                                                           14                                             ORDER
                                           LLC

                                                                Telephone (702) 878-2889




                                                                                           15          IT IS HEREBY ORDERED that the Department of Parole and Probation prepare a pre-
                                                                                           16   plea presentence investigation report for Defendant Keith Williams.
                                                                                           17
                                                                                           18                                   September 2014.
                                                                                                                   23rd day of ____________,
                                                                                                       Dated this _______
                                                                                           19

                                                                                           20                                                              ____________________________
                                                                                                                                                           United States Magistrate Judge
                                                                                           21
                                                                                           22
                                                                                           23
                                                                                           24
                                                                                    1
                                                                                    2




                                                                                           25
                                                                                           26
                                                                                           27
                                                                                           28
                                                                                                  CaseCase
                                                                                                       2:14-cr-00321-GMN-NJK  Document
                                                                                                           2:14-mj-00498-PAL Document 2025Filed
                                                                                                                                              Filed 09/23/14
                                                                                                                                                 09/17/14  PagePage
                                                                                                                                                                4 of 44 of 4


                                                                                           1                                   CERTIFICATE OF SERVICE

                                                                                           2           I hereby certify that I am an employee of ORONOZ & ERICSSON and on this 17th day

                                                                                           3    of September, 2014, I did serve a true and correct copy of the foregoing DEFENDANT’S

                                                                                           4    UNOPPOSED MOTION TO CONDUCT A PRE-PLEA PRESENTENCE INVESTIGATION

                                                                                           5    REPORT AND PROPOSED ORDER by U.S. District Court CM/EMF Electronic Filing, to:

                                                                                           6           Daniel G. Bogden
                                                                                           7           United States Attorney
                                                                                                       Sarah E. Griswold
                                                                                           8           Assistant United States Attorney
                                                                                                       330 Las Vegas Blvd. South
                                                                                           9           5th Floor
                                                                                                       Las Vegas, Nevada 89101
                                                                                           10
                                                                                                       and
                                                                Facsimile (702) 522-1542




                                                                                           11
                    700 South Third Street • Las Vegas, Nevada 89101




                                                                                           12          All other parties and counsel included in the CM/EMF filing list
ORONOZ & ERICSSON




                                                                                           13
                                                                                           14                                                 By: /s/ Rachael Stewart
                                           LLC




                                                                                                                                                An employee of Oronoz & Ericsson LLC
                                                                Telephone (702) 878-2889




                                                                                           15
                                                                                           16
                                                                                           17
                                                                                           18
                                                                                           19

                                                                                           20
                                                                                           21
                                                                                           22
                                                                                           23
                                                                                           24
                                                                                    1
                                                                                    2




                                                                                           25
                                                                                           26
                                                                                           27
                                                                                           28
